         Case 20-34682 Document 330 Filed in TXSB on 12/21/20 Page 1 of 5




      LIMITED OBJECTION TO PROPOSED FINAL ORDER (A) AUTHORIZING THE
      DEBTORS TO OBTAIN POSTPETITION FINANCING, (B) AUTHORIZING THE
    DEBTORS TO USE CASH COLLATERAL, (C) GRANTING LIENS AND PROVIDING
       CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS, (D)
        GRANTING ADEQUATE PROTECTION TO THE PREPETITION SECURED
     PARTIES, (E) MODIFYING THE AUTOMATIC STAY, (F) SCHEDULING A FINAL
                  HEARING, AND (G) GRANTING RELATED RELIEF1

                                             [Relates to Doc. #141]

         VT Halter Marine, Inc. (“VTHM”) and ST Engineering Halter Marine & Offshore, Inc.

(“STEHMO” and, collectively with VTHM, “Halter”) file this limited objection to proposed

Second Interim and, where applicable, Final Order (A) Authorizing the Debtors to Obtain

Postpetition Financing, (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens

and Providing Claims with Superpriority Administrative Expense Status, (D) Granting Adequate

Protection to the Prepetition Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a

Final Hearing, and (G) Granting Related Relief (the “Proposed Final Order”)2 and, in support

thereof, respectfully states as follows:

                                             Reservation of Rights



1 Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtor entities and the last
four digits of their federal tax identification numbers is not provided herein. A complete list may be obtained on the
website of the Debtors’ claims and noticing agent at https://cases.stretto.com/bouchard.
2 Capitalized terms used but not defined herein have the meaning given to such terms in the Proposed Final Order

(Doc. # 141).
           Case 20-34682 Document 330 Filed in TXSB on 12/21/20 Page 2 of 5




           By filing this Limited Objection to entry of the Final Order (the “Limited Objection”),

STEHMO does not consent to the jurisdiction of the Bankruptcy Court to adjudicate the validity,

extent, or perfection of its maritime lien in the M/V RALPH E. BOUCHARD, which is currently

the subject of litigation against Bouchard Transportation Company (Bouchard) and the vessel the

M/V RALPH E. BOUCHARD in the US District Court for the Southern District of Mississippi,

styled as ST Engineering Halter Marine& Offshore Inc. v. M/V RALPH E. BOUCHARD, 1:19-cv-

955-LG-RPM (currently stayed).

                                          Limited Objection

           Halter files this Limited Objection to certain terms and/or language in the Proposed Final

Order.

           (1)   Halter objects to the issuance of the Proposed Final Order without having an

opportunity to review the terms of the DIP Loans, including, but not limited to the Credit

Agreement, the Guarantees issued by the DIP Guarantors (the “DIP Guarantees”), and the

intercompany note for the BTC Loan. The findings of fact and conclusion of law contained in the

Proposed Final Order are not supported without these critical documents.

           (2) Halter objects to the Debtors’ stipulation regarding the validity, enforceability,

perfection and non-avoidability of the Prepetition Liens as overreaching by the Prepetition Secured

Parties.

           (3) The Proposed Final Order does not provide a mechanism for making whole a DIP

Guarantor who pays or otherwise satisfies a portion of the DIP Obligations. Undersigned counsel

has proposed language to Debtors’ counsel granting a superpriority administrative expense claim

to the paying DIP Guarantor against the Borrower.
        Case 20-34682 Document 330 Filed in TXSB on 12/21/20 Page 3 of 5




        (4) Halter objects to the terms of the Proposed Final Order whereby the Debtors waive

their section 506(c) rights with respect to the DIP Collateral. Section 506(c) of the Bankruptcy

Code allows a trustee or debtor-in-possession to charge the costs of preserving or disposing of a

secured lender’s collateral against the collateral itself. See 11 U.S.C. § 506(c). Prohibitions on

the Debtors’ ability to surcharge collateral under section 506(c) constitute an impermissible waiver

of rights of the Debtors and their estates under the Bankruptcy Code. See, e.g., In re The Colad

Group, 324 B.R. 208, 224-25 (Bankr. W.D. N.Y. 2005). Section 506(c) shifts the costs of

preserving or disposing of a secured party’s collateral back to the secured party who has benefited

from the expenditure and ensures that the cost of liquidating a secured lender’s collateral is paid

by the secured creditor and not paid from unsecured recoveries. See, e.g., Precision Steel v.

Fremont Fin. Corp. (in re Visual Indus., Inc.), 57 F.3d 321, 325 (3d Cir. 1995) (stating, “section

506(c) designed to prevent a windfall to the secured creditor”); Kivitz v. CIT Group/Sales Fin.,

Inc., 272 B.R. 332, 334 (D. Md. 2000) (stating, “the reason for [section 506(c)] is that unsecured

creditors should not be required to bear the cost of protecting property that is not theirs”). Insisting

on this waiver is overreaching and erodes recoveries of unsecured creditors, which are already

being subordinated to the DIP Secured Parties via their superpriority administrative expense

claims. Moreover, only a debtor or trustee can invoke section 506(c). See Hartford Underwriters

Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1 (2000). Accordingly, if the Court authorizes the

Debtors to waive their section 506(c) rights, they will be goine forever—to the detriment of

unsecured creditors.

        (5) The relief granted in Conclusion of Law paragraph 12 (Payments Free and Clear)

should be subject to a successful Challenge under Conclusion of Law paragraph 24 (Effect of

Stipulations on Third Parties).
        Case 20-34682 Document 330 Filed in TXSB on 12/21/20 Page 4 of 5




       (6) The Challenge Period of 75 days under Conclusion of Law paragraph 24 (Effect of

Stipulations on Third Parties) is insufficient for investigation of all of the Debtors’ stipulations,

admissions, and releases in the Proposed Final Order. Additionally, the Proposed Final Order does

not account for the appointment of an unsecured creditors’ committee outside of the Challenge

Period. Undersigned counsel has provided proposed language to Debtors’ counsel to resolve this

objection.

       (7) The extent of the DIP Obligations cannot be determined without the Credit Agreement.

Specifically, it is not possible to determine the identity of the Indemnified Parties, the scope of the

indemnification obligation being placed on the DIP Obligors, or whether the amount of the DIP

Obligors’ indemnification liability is capped or otherwise limited in any manner.

       (8) Undersigned counsel has provided proposed language to Debtors’ counsel to clarify

other language in the Proposed Final Order, which will hopefully resolve these issues.

       Respectfully Submitted,

                                               Bland & Partners

                                               /s/ Bavid S. Bland
                                               ALLISON R. COLÓN
                                               (TX Bar 24012446)
                                               acolon@blandandpartners.com
                                               DAVID S. BLAND
                                               bland@blandandpartners.com
                                               BLAND & PARTNERS
                                               5500 Prytania Street, Number 618
                                               New Orleans, LA 70115
                                               Telephone: 504-289-3813
                                               Attorneys for VT Halter Marine, Inc. and ST
                                               Engineering Halter Marine and Offshore Inc.



                                 CERTIFICATE OF SERVICE
        Case 20-34682 Document 330 Filed in TXSB on 12/21/20 Page 5 of 5




        I certify that on December 21, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas


                                                   By: /s/ Allison R. Colón_____________
                                                       Allison R. Colón, TX Bar No. 24012446
